 Case 3:22-cv-00218-SPM Document 16 Filed 07/06/22 Page 1 of 2 Page ID #36




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


 ERIC FOREMAN,                                         Case No. 3:22-cv-00218-SPM

                          Plaintiff,                   NOTICE OF DISMISSAL PURSUANT
                                                       TO RULE 41(a)(1)
        v.

 OONI, INC.

                          Defendant.



                    NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)

       1.         Whereas Plaintiff Eric Foreman filed the above-referenced case against Defendant

Ooni, Inc. on February 4, 2022.

       2.         Whereas Defendant has not yet answered Plaintiff’s Complaint, and thus dismissal

is appropriate without Court order, pursuant to Federal Rule of Civil Procedure, Rule

41(a)(1)(A)(i).

       3.         Accordingly, pursuant to Federal Rule of Civil Procedure, Rule 41(a)(1)(A)(i),

Plaintiff hereby dismisses the Complaint with prejudice.

       Dated: July 6, 2022                        Respectfully Submitted,

                                                   /s/ Benjamin J. Sweet
                                                   Benjamin J. Sweet
                                                   ben@nshmlaw.com
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                                                   Attorneys for Plaintiff Eric Foreman
 Case 3:22-cv-00218-SPM Document 16 Filed 07/06/22 Page 2 of 2 Page ID #37




                                 CERTIFICATE OF SERVICE

        I certify that on the 6th day of July, 2022, the foregoing document was electronically filed

through the Court’s CM/ECF system, which will send notification of such filing to all counsel of

record, and I also certify that I am providing a copy to those parties not receiving CM/ECF

notifications at this time.

                                                         /s/ Benjamin J. Sweet
                                                           Benjamin J. Sweet




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